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IN THE UNITED STATES DISTRICT cCouURT
FOR THE DISTRICT OF NORTH DAKOTA

SOUTHWESTERN DIVISION

MDU Resources Group, Inc., d/b/a
Montana-Dakota Utilities Co.,

Plaintirr,

W. R. Grace & Co. and
W. R. Grace & Co.-Conn.,

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Defendants.

TRANSCRIPT OF TRIAL

.. Taken at
United States Courthouse
Bismarck, North Dakota
May 26, 1992

BEFORE THE HONORABLE BRUCE M. VAN SICKLE - SENIOR JUDGE

“- AND A JURY --

EMINETH & ASSOCIATES

Civil No. A1l-90-i22

Court Reporters

BISMARCK, NORTH DAKOTA
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A. Yes, he did.
Q. Does the report reflect the methods that he used to
analyze these dust samples?
A. Well, at the time these were done there was only one_
method available to analyze TEM dust samples, but he --

MR. CHILDS: I‘m going to object; Your Honor, and
move to strike as nonresponsive to the question.

THE COURT: I overrule that. Finish your answer,
please.

THE WITNESS: In his report, he gives the specifics
of who analyzed them and who reviewed the analysis data and
the specifics regarding the magnification used,’ the area
examined, the number of grid openings that were lookea at; it
could only have been the standard EPA draft protocol.

- MR. CHILDS: Your Honor, we would again assert our

motion -- our objection for lack of foundation. Mr. Longo

has been listed as one of their experts and we think that

that testimony is best served coming through hin.

MR. SPEIGHTS: _I.wasn’t through yet with my
questions, Your Honor..

THE COURT: Please proceed with your examination.
Q- . (MR. SPEIGHTS CONTINUING) Have you worked on various
projects with Dr. Longo?

A. Yes.

Q. Have you worked on various experiments with Dr. Longo in

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which you have taken dust and air samples?
A. Yes,
Q- .And have you worked closely with Dr. Longo in these

projects which have resulted in analysis of settled dust in
buildings?

A. Yes.

Q- Is Dr. Longo somebody that you rely on in your field on
a regular basis in the analysis of dust samples?
A. Yes.

MR. SPEIGHTS: That‘’s my foundation, Your Honor. I
do intend to call Dr. Longo to the stand, but I think that
Mr. Ewing can testify about -- excuse me -- can testify about
the results in the MDU building, so he can explain his :

evaluation of the building in light of the information which
was forwarded to hin.

MR. CHILDS: Your Honor, our position that is we
have no ability to cross this individual as to the method
used, which cuts to the heart of our Frye motion, and pr.
Longo . is the one who Spplied this indirect-method sonication
and he’s the one we'd like to cross-examine on that method
before the results are made public to this jury, because ‘this
Court may find the Frye motion is appropriate in this case.

THE COURT: I overrule, | and the reason being that

it has been shown that this was a -- the -- there. was a

etandard method and, therefore, - that this -- and’ it also has

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been shown that this witness has more than. the average

layman’s ability to evaluate the product. I overrule ana

receive the evidence.

Would you please proceed.

MR. CHILDS: Excuse me, Your Honor. In light of
the Court’s ruling, may we voir dire this witness on. /
sonication for the basis of our Frye motion?

THE COURT: Certainly.

MR. CHILDS: Thank you, Your Honor.

oO ? DS:

Q. Mr. Ewing, the method used to test this dust is called
the indirect method; isn’t that true?

A. I think you’re referring to the indirect/direct method»

_ Of analysis of air samples. That's where the indirect is

normally referred to.

Q. The dust was prepared by a process called sonication;
ien’t that correct?

A. That is part of the preparation method, yes.

Q. ‘Okay. As an industrial hygienist, do you rely on the
EPA Government publication the Green Book for guidance?

A. Yes, to some extent.

Q. The Green Book says “Because the results of this testing
are difficult to interpret and evaluate at this time,
building owners should carefully consider the appropriateness

of this testing to their situation."

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isn’t that the Green Book’s statement with respect

to dust testing in buildings?
A. . well, I think that’s part of the statement. 1 think you
skipped over the first part, and the EPA has put out a’
guidance document on specifically the direct versus indirect
preparation methods. -

Q- And isn’t that guidance document, sir, what is callea

the EPA’s draft protocol?

A. No, not -- the published -- you know, the Blue Book says
ID, ID across it.

Q. Are you aware of the EPA‘s draft protecol regarding dust
preparation?

A. Yes; they’ve -- they’ve turned over everything to the

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ASTM committee at this point.
Q. Isn’t it true that the EPA draft protocol when it -- it
addresses dust testing and sonication says the following:
__ "As this method involved the use of. sonication to
disperse the fibers in the dust sample prior to dilution
- and filtration, it will.increase-. the number of small
fibers counted in relation to what may have actually
been found on the surface. At present, no firm
conclusions can be drawn regarding potential exposure
hazards from asbestos-contaminated surface dust and no
limits have been set to.define a level requiring

abatement or cleaning of the area."

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Doesn’t this draft protocol say, sir, that with
respect to testing of dust, that there are no limits, that
there is no set protocol, and that’s because it increases the
number of small fibers?

A. Well, I’ve read the draft protocol many times. 1 think
what you’re reading from is from a forward that was suggested
by some people on the comnittee, and I don't think the -- I
don’t think the forward has ever been incorporated yet into
the protocol. itself. There are portions of that that you
read that I would agree with, other portions I might disagree
with.

Q. . Isn‘t it true that the Environmental Protection Agency,
both in the Green Book and also in this Graft protocol, which
addresses dust, do not accept the dust testing as a way of
assessing the condition of buildings because sonication,
which is the process you used, increases the number of small

fibers in the count,. and that’s misleading? Would you agree

with that, sir?

A. No, I wouldn't. The EPA -- if you recall the PEI study

on carpet cleaning, for example, was done using that exact
method. The EPA uses the method in their own -- their own
work.

I would agree that I think you will find some
increase in smal} fibers due to dispersion of clusters and

Bundles at the ends of the bundles; but with regards to dust.

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sampling, honestly, I’ve never heard anyone really argue that
some other type of method should be used for analysis because
there -- for dust sampling, there is no other way to do it.
other than to redeposit it.

Q. In addition to your relying as part of your work in this
field on the EPA -—- EPA draft protecol, don’t you also rely
on a recent publication called the "Health Effects Institute
Report" that came out as @ mandate from Congress? Are you
familiar with that report?

A. Which one are you talking about?

Q. The “Health Effects Institute Report" that came cut

. _ Several years ago. Are you familiar with that report?

A. Yes. There‘’s been three reports.
Q. Okay. The one I’m referring about is “Asbestos in
Public and Commercial Buildings, a Literature Review and

_ Synthesis of Current Knowledge."

A. Yes.
Q. Okay. And isn’t it true, sir, that what they say about
dust is that sampling surface dust is a particular problem as
there is no expectation of uniform dispersion and many .
Samples must be taken and either separately analyzed or
combined into a single sample -~ into a single analysis. The
latter.may give misleading results.

So don’t we have now three sources that you rely on

in your field, the EPA Green Book, the EPA draft protocol and

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now the Health Effects Institute, that say dust sampling is
misleading?

A. ‘Well, I think I would agree with what HEI said on that,
but -- and an working with HEI at. the present time on two
research studies, one of which involves the settled dust
testing in public and commercial buildings. So I wouldn’t
say that they just abandoned the method. I woulda agree that
you can’t take a surface dust sample and then say this is .
what someone is breathing. That would be inappropriate to do
that, and-I’m not trying to do that at all. What it does is
gives you an approximation of what is present on a surface to
help you prevent exposure in the future, because you know
this is here, and that’s the main purpose for doing it.

_ MR. CHILDS: Your Honor, based on the Green Book
and the EPA protocol and the HEI report, the statements I’ve
just read, again we would renew our motion that the Court has
discussed with us, the Frye motion.

THE COURT: I overrule the renewed motion. And

“again we have a break.

‘Members of the jury, please remember the admonition

I’ve previously given you. At this time we will recess until

3:20 -= 3:20.

(Recessed at 3:05 p.m., Tuesday, May 26, 1992.)

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